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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. SA CV 20-00683-DOC (JDEx)                                Date: July 1, 2020

 Title: Cardiff Prestige Property, Inc., et al. v. Peoples Republic of China, et al.


 PRESENT: The Honorable DAVID O. CARTER, U.S. District Judge

                  Kelly Davis                                           None
                Courtroom Clerk                                     Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:                  ATTORNEYS PRESENT FOR DEFENDANT:
           None Present                                       None Present

 PROCEEDINGS (IN CHAMBERS): ORDER TO SHOW CAUSE WHY THIS CASE
                            SHOULD NOT BE DISMISSED FOR LACK OF
                            PROSECUTION


         The file in this case lacks the papers that would show it is being timely prosecuted, as
 reflected below. Accordingly, the Court, on its own motion, hereby orders plaintiff (s) to show
 cause in writing no later than JULY 9, 2020 why this action should not be dismissed as to all
 remaining defendants for lack of prosecution.

         It is the responsibility of plaintiff to respond promptly to all Orders and to prosecute the
 action diligently, including filing proofs of service and stipulations extending time to respond. If
 necessary, plaintiff(s) must also pursue Rule 55 remedies promptly upon default of any
 defendant. All stipulations affecting the progress of the case must be approved by the Court,
 Local Rule 7-1.

        As an alternative to a written response by plaintiff(s), the Court will accept one of the
 following as an appropriate response to this OSC if it is filed on or before the above date, as
 evidence that the matter is being prosecuted diligently:

        Proofs of Service of Summons and Complaint on all defendants

         No oral argument of this matter will be heard unless ordered by the Court. The Order
 will stand submitted upon the filing of a responsive pleading or motion on or before the date
 upon which a response by plaintiff(s) is due.

         Plaintiff counsel is ordered to serve this order on all defendants.

 MINUTES FORM 11
 CIVIL-GEN                                                     Initials of Deputy Clerk: kd




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